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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA

ALVIN BUSH,                                     CASE NO.: 18-cv-156
    PLAINTIFF,
                                                CIVIL DIVISION
vs.

REVERSE MORTGAGE SOLUTIONS, INC.,
     DEFENDANT.
_________________________________/

COMPLAINT FOR VIOLATION OF FAIR DEBT COLLECTION PRACTICES

       ACT AND FLORIDA CONSUMER COLLECTIONS PRACTICES ACT

                                   INTRODUCTION

      1.) This is an action for actual and statutory damages brought by Plaintiff,

         ALVIN BUSH, (hereinafter “Mr. Bush”) an individual consumer, against

         Defendant, REVERSE MORTGAGE SOLUTIONS, INC. (hereinafter

         “Reverse Mortgage Solutions”) for violations of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’), which

         prohibits debt collectors from engaging in abusive, deceptive, and unfair

         practices, and for violations of the Florida Consumer Collections Practice

         Act, section 559.551 et seq. (hereinafter “FCCPA”).

                                    JURISDICTION

      2.) Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

         1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and
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   2202. Venue in this District is proper in that Reverse Mortgage Solutions

   engages in debt collection in this District, and the conduct complained of

   occurred in this District.

                                  PARTIES

3.) Plaintiffs ALVIN BUSH, is a natural person residing in Tallahassee, Leon

   County, Florida.

4.) Defendant, REVERSE MORTGAGE SOLUTIONS, INC, is a foreign

   corporation engaged in the business of collecting debt in this state with its

   principal place of business located at 14405 WALTERS ROAD

   SUITE 110, 200, 300, 400 AND 500, HOUSTON, TX 77014. The principal

   purpose of Reverse Mortgage Solutions is the collection of debts in this state

   and Reverse Mortgage Solutions regularly attempts to collect debts alleged

   to be due another.

5.) Reverse Mortgage Solutions is engaged in the collection of debts from

   consumers using the mail and telephone. Reverse Mortgage Solutions

   regularly attempts to collect consumer debts alleged to be due to another

   and/or purchase debts after default for the purpose of collection. Reverse

   Mortgage Solutions is a ‘‘debt collector’’ as defined by the FDCPA, 15

   U.S.C. § 1692a(6) and by the FCCPA, Fla. Stat. § 559.55(7).

                        FACTUAL ALLEGATIONS
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6.) On September 25, 2008, Mr. Bush entered into a reverse mortgage

    agreement with World Alliance Corporation (See copy attached to Exhibit

    A).

7.) On or about March 13, 2012, Reverse Mortgage Solutions, acting as a debt

    collector, filed an action seeking foreclosure of a reverse mortgage against

    Mr. Bush in the Florida State Circuit Court for Gadsden County, Florida,

    case 12000195CAA (Exhibit A). The basis of the foreclosure action was an

    allegation that Mr. Bush had failed to maintain insurance on the property.

8.) On May 6, 2015, following a trail, the trial Court entered an involuntary

    dismissal in favor of Mr. Bush in that action (Exhibit B). As the prevailing

    party in that lawsuit Mr. Bush recovered his attorney fees in the amount of

    $12,500.00.

9.) On June 21, 2016 Mr. Bush acting through is attorney, filed a satisfaction of

    his claim for attorney fees in the Gadsden County Circuit Court (Exhibit C)

10.) The property subject to the reverse mortgage is Mr. Bush’s home and

    residence.

11.) On or about June 6, 2017 Reverse Mortgage Solutions sent a letter (Exhibit

    D) to Mr. Bush informing him that they were accelerating the balance due

    on the reverse mortgage based upon a lapse in insurance coverage. The
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    accelerated balance claimed in the letter was $130,438.41 and sought to

    collect that balance as an option for Mr. Bush to avoid foreclosure.

12.) The June 6, 2017 letter (Exhibit D) that Reverse Mortgage Solutions sent to

    Mr. Bush states that it is a communication from a “debt collector”

13.) On January 25, 2018, Reverse Mortgage Solutions created a loan transaction

    detail (Exhibit E) that shows that Reverse Mortgage Solutions added to the

    balance of the loan account its costs and attorney fees incurred in the prior

    foreclosure case, along with the fees that they paid to Mr. Bush’s attorney as

    prevailing party (See Exhibit E entry on September 26, 2016 in the amount

    of $12,500). The loan transaction detail also includes costs for items such as

    monthly “property inspections” that were part of the prior foreclosure action.

    As the losing party of the prior foreclosure, Reverse Mortgage Solution was

    not entitled to recover the costs and fees associated with the prior

    foreclosure action from Mr. Bush.

14.)The Plaintiffs have hired the undersigned attorney to represent them in this

    matter and are obligated to pay him a reasonable attorney fee for his

    services.

                                  First Claim

                            1, Violation of FDCPA
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15.)Plaintiff repeats and re-alleges and incorporates by reference paragraphs

   one through thirteen above.

16.) Upon information and belief, based upon the pleadings contained in a

   Second Foreclosure action filed by Reverse Mortgage Solutions in Gadsden

   County Circuit Court case 17000582CAA, the “Secretary of Housing and

   Urban Development approved this occurrence as grounds for acceleration of

   the debt on or about September 29, 2011” which means that the alleged

   breach occurred more than 5 years prior to this lawsuit and prior to Reverse

   Mortgage Solutions taking any assignment of this loan and mortgage either

   as holder or servicer.

17.) Upon information and belief, Reverse Mortgage Solutions does not engage

   in the business of extending credit to consumer borrowers.

18.) At all times pertinent to this action, Reverse Mortgage Solutions has acted

   to collect a debt that was owed to another or that it had taken assignment of

   after default for the purpose of collection.

19.) Reverse Mortgage Solutions violated the FDCPA. Defendant’s violations

   include, but are not limited to, the following:

      a. Reverse Mortgage Solutions violated 15 U.S.C. § 1692f by sending an

         acceleration notice (Exhibit D) to the Mr. Bush that in the payoff

         amount included costs and fees associated with the prior lawsuit in
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      which Mr. Bush prevailed these costs and fees include, but are not

      limited to:

         i. Attorney fees and costs recovered by Mr. Bush’s counsel;

        ii. Attorney fees incurred by Reverse Mortgage Solutions;

        iii. Property preservation fees for items such as inspections.

   b. Reverse Mortgage Solutions violated 15 U.S.C. § 1692e (2)(A) by

      sending written correspondence (Exhibit D) after entry of a

      foreclosure judgment in favor of Mr. Bush seeking to recover fees,

      costs, and property preservation fees associated with that litigation.

   c. Reverse Mortgage Solutions violated 15 U.S.C. § 1692e (2)(A) by and

      sending an acceleration letter (Exhibit D) to Mr. Bush that falsely

      represented the amount owed.

   d. Reverse Mortgage Solutions was aware that Mr. Bush was

      represented by an attorney with regard to any debt associated with the

      prior foreclosure lawsuit. Reverse Mortgage Solutions violated 15

      U.S.C. § 1692c(a)(2) by sending him communication (Exhibit D) in

      which it sought to collect an accelerated balance that included the

      attorney fees and costs related to the prior foreclosure lawsuit.

   e. Reverse Mortgage Solutions violated 15 U.S.C. § 1692g (a) by and

      failing to send to the Plaintiff a notice containing the information
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         required pursuant to 15 U.S.C. § 1692g (a) within 5 days of the initial

         communication from the Plaintiff.

20.)As a result of the above violations of the FDCPA, Reverse Mortgage

   Solutions is liable to the Plaintiffs for declaratory judgment that Reverse

   Mortgage Solutions’s conduct violated the FDCPA, and Plaintiffs’ actual

   damages, statutory damages, and costs and attorney’s fees.

                                 Second Claim

                             Violation of FCCPA

21.) Plaintiff repeats and re-alleges and incorporates by reference paragraphs

   one through thirteen above.

22.) Reverse Mortgage Solutions violated the FCCPA. Reverse Mortgage

   Solutions’s violations of the state Act include, but are not limited to, the

   following:

      a. Reverse Mortgage Solutions violated section 559.72(9) Florida

         Statutes by claiming a right to add its attorney fees, the attorney fees

         paid to Mr. Bush’s counsel, and the costs of a prior foreclosure in

         which Mr. Bush was the prevailing party.

      b. Reverse Mortgage Solutions violated section 559.72(18) Florida

         Statutes by sending communication (Exhibit D) to Mr. Bush

         seeking recovery of costs and fees incurred in the prior foreclosure

         when
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            Reverse Mortgage Solutions knew that Mr. Bush was represented by

            an attorney in that matter.

   23.) Reverse Mortgage Solutions’s acts as described above were done

        intentionally with the purpose of coercing Mr. Bush to pay the alleged

        debt.

   24.) As a result of the above violations of the State Act, Reverse Mortgage

        Solutions is liable to Mr. Bush the for injunctive and declaratory relief and

        for actual damages, statutory damages, and attorney’s fees and costs.



   WHEREFORE, Mr. Bush respectfully prays that judgment be entered against

the Reverse Mortgage Solutions in their favor for the following:

      a.) Declaratory judgment that Reverse Mortgage Solutions conduct violated

        the FDCPA, and FCCPA, and injunctive relief for the Reverse Mortgage

        Solutions violations of the FDCPA and FCCPA.

      b.) Actual damages.

      c.) Statutory damages pursuant to 15 U.S.C. § 1692k.

      d.) Statutory damages pursuant to section 559.77(2) Florida Statutes.

      e.) Punitive damages as determined by the Court pursuant to section

        559.77(2) Florida Statutes.
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f.) Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k and

  section 559.77(2) Florida Statutes.

h.) For such other and further relief as may be just and proper.




                                        /s/David H. Abrams
                                        David H. Abrams, Esq.
                                        Attorney for the Plaintiff
                                        Fla. Bar No.: 0692484
                                        P.O. Box 3298
                                        Tallahassee, Florida 32315
                                        (850) 224-7653 Telephone
                                        (850) 222-0206 Facsimile
                                             EXHIBIT A
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                                             EXHIBIT C
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                                                                                          User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                                                                                                                                              EXHIBIT E
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                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                          Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                 Investor Name: Fannie Mae
 Loan Number: 3000017077                                                   FHA Case Number: 091-4328446


 Transaction Date      Transaction Description                   Principal Amount     Interest             MIP            Service Fee Amount       Corporate Advance Amount          Totals:

          1/22/2018 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

         12/31/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $204.49         $41.03                   $25.00                         $0.00       $270.52

         12/20/2017 Corp Adv - S306 - Attorney Fees                           $0.00                $0.00          $0.00                    $0.00                       $250.00       $250.00

         12/20/2017 Corp Adv - S306 - Attorney Fees                           $0.00                $0.00          $0.00                    $0.00                       $250.00       $250.00

         12/20/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                       $300.00       $300.00

         12/20/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                     $1,219.47     $1,219.47

         12/18/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

         11/30/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $203.11         $40.92                   $25.00                         $0.00       $269.03

         11/24/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

         11/16/2017 Corp Adv - S305 - Taxes                                   $0.00                $0.00          $0.00                    $0.00                       $449.07       $449.07

         10/31/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $202.88         $40.80                   $25.00                         $0.00       $268.68

         10/23/2017 Corp Adv - Prop Preserve - Other                          $0.00                $0.00          $0.00                    $0.00                         $0.00         $0.00

         10/23/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          9/30/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $202.00         $40.69                   $25.00                         $0.00       $267.69

          9/21/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          9/11/2017 Corp Adv - S306 - Attorney Fees                           $0.00                $0.00          $0.00                    $0.00                     $1,400.00     $1,400.00

          9/11/2017 Corp Adv - S307 - Recording Fees                          $0.00                $0.00          $0.00                    $0.00                        $11.00        $11.00

          9/11/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                         $0.00         $0.00

          9/11/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                       $938.46       $938.46

          9/11/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                        $40.00        $40.00

          9/11/2017 Corp Adv - S307 - Other                                   $0.00                $0.00          $0.00                    $0.00                       $200.00       $200.00

          8/31/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $200.48         $40.58                   $25.00                         $0.00       $266.06

          8/24/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          7/31/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $185.79         $40.48                   $25.00                         $0.00       $251.27

          7/27/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          7/13/2017 Corp Adv - S305 - Hazard Insurance                        $0.00                $0.00          $0.00                    $0.00                    ($2,128.35)   ($2,128.35)
                    Repay
          6/30/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $181.28         $40.37                   $25.00                         $0.00       $246.65

          6/29/2017 Corp Adv - Prop Preserve - Prop Inspect                   $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          6/20/2017 Corp Adv - S305 - Other                                   $0.00                $0.00          $0.00                    $0.00                         $0.00         $0.00

          6/15/2017 Corp Adv - S305 - Hazard Insurance                        $0.00                $0.00          $0.00                    $0.00                     $2,128.35     $2,128.35

              6/7/2017 Corp Adv - Prop Preserve - Prop Inspect                $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          5/31/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $179.86         $40.27                   $25.00                         $0.00       $245.13

              5/8/2017 Corp Adv - Prop Preserve - Prop Inspect                $0.00                $0.00          $0.00                    $0.00                        $20.00        $20.00

          4/30/2017 Monthly Int, MIP/PMI Accrual & SF                         $0.00              $163.20         $40.18                   $25.00                         $0.00       $228.38



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                      Reverse Mortgage Solutions, Inc.
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                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


          4/10/2017 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          3/31/2017 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $162.58         $40.08                   $25.00        $0.00     $227.66

          3/13/2017 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          2/28/2017 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $160.83         $39.99                   $25.00        $0.00     $225.82

              2/9/2017 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          1/31/2017 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $148.11         $39.90                   $25.00        $0.00     $213.01

          1/11/2017 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

         12/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $141.98         $39.81                   $25.00        $0.00     $206.79

         12/15/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

         12/14/2016 Corp Adv - S305 - Taxes                                 $0.00            $0.00          $0.00                    $0.00     $481.80      $481.80

         11/30/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $140.80         $39.73                   $25.00        $0.00     $205.53

         11/17/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

         10/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $140.65         $39.64                   $25.00        $0.00     $205.29

         10/20/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

         10/12/2016 Corp Adv - S307 - Other                                 $0.00            $0.00          $0.00                    $0.00     $200.00      $200.00

         10/12/2016 Corp Adv - S307 - Other                                 $0.00            $0.00          $0.00                    $0.00     $464.10      $464.10

         10/12/2016 Corp Adv - S307 - Other                                 $0.00            $0.00          $0.00                    $0.00     $110.00      $110.00

          9/30/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $138.14         $39.56                   $25.00        $0.00     $202.70

          9/26/2016 Corp Adv - S306 - Other                                 $0.00            $0.00          $0.00                    $0.00   $12,500.00   $12,500.00

          9/23/2016 Corp Adv - S306 - Other                                 $0.00            $0.00          $0.00                    $0.00     $350.00      $350.00

          9/23/2016 Corp Adv - S306 - Other                                 $0.00            $0.00          $0.00                    $0.00     $175.00      $175.00

          9/23/2016 Corp Adv - S306 - Other                                 $0.00            $0.00          $0.00                    $0.00    $1,750.00    $1,750.00

          9/21/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          8/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $134.14         $39.48                   $25.00        $0.00     $198.62

          8/18/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

              8/5/2016 Corp Adv - S305 - Hazard Insurance                   $0.00            $0.00          $0.00                    $0.00    $2,082.46    $2,082.46

          7/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $134.49         $39.39                   $25.00        $0.00     $198.88

          7/25/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          6/30/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $132.55         $39.31                   $25.00        $0.00     $196.86

          6/23/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

              6/2/2016 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00      $20.00       $20.00

          5/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $132.20         $39.23                   $25.00        $0.00     $196.43

          5/12/2016 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00     $107.50      $107.50

          5/12/2016 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00     $215.00      $215.00

          5/12/2016 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00     $430.00      $430.00

          5/12/2016 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00     $215.00      $215.00


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                      Reverse Mortgage Solutions, Inc.
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                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


          5/12/2016 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $107.50       $107.50

          5/11/2016 Corp Adv - S409 - Appraisal Fees                        $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

              5/5/2016 Corp Adv - S307 - Other                              $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

              5/5/2016 Corp Adv - S306 - Attorney Fees                      $0.00            $0.00          $0.00                    $0.00      $175.00       $175.00

              5/5/2016 Corp Adv - S306 - Other                              $0.00            $0.00          $0.00                    $0.00      $300.00       $300.00

              5/5/2016 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          4/30/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $132.24         $39.15                   $25.00        $0.00       $196.39

          3/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $130.95         $39.07                   $25.00        $0.00       $195.02

              3/9/2016 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          2/29/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $130.36         $38.98                   $25.00        $0.00       $194.34

          2/10/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          1/31/2016 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $116.26         $38.91                   $25.00        $0.00       $180.17

          1/14/2016 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         12/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $112.16         $38.84                   $25.00        $0.00       $176.00

         12/24/2015 Corp Adv - S409 - Appraisal Fees                        $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

          12/9/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         11/30/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $111.95         $38.76                   $25.00        $0.00       $175.71

         11/19/2015 Corp Adv - S305 - Taxes                                 $0.00            $0.00          $0.00                    $0.00      $480.53       $480.53

         11/11/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         10/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $112.12         $38.69                   $25.00        $0.00       $175.81

         10/12/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          9/30/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $111.14         $38.62                   $25.00        $0.00       $174.76

          9/28/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $175.00       $175.00

          9/22/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $300.00       $300.00

          9/15/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              9/4/2015 Corp Adv - S409 - Appraisal Fees                     $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

          8/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.78         $38.54                   $25.00        $0.00       $174.32

          8/18/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              8/5/2015 Corp Adv - S305 - Taxes Repay                        $0.00            $0.00          $0.00                    $0.00   ($1,248.41)   ($1,248.41)

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $175.00       $175.00

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $525.00       $525.00

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $350.00       $350.00

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $350.00       $350.00

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $175.00       $175.00

          7/31/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $350.00       $350.00

          7/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.34         $38.47                   $25.00        $0.00       $173.81


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                                                                                     User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                    Case 4:18-cv-00156-MW-CAS Document 1 Filed 03/21/18 Page 52 of 56
                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


          7/21/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          7/16/2015 Corp Adv - S306 - Attorney Fees                         $0.00            $0.00          $0.00                    $0.00      $350.00       $350.00

          7/16/2015 Corp Adv - S306 - Other                                 $0.00            $0.00          $0.00                    $0.00      $300.00       $300.00

          7/16/2015 Corp Adv - S307 - Other                                 $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

          6/30/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $109.98         $38.40                   $25.00        $0.00       $173.38

          6/23/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          6/19/2015 Corp Adv - S305 - Taxes                                 $0.00            $0.00          $0.00                    $0.00      $593.10       $593.10

          5/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $109.46         $38.33                   $25.00        $0.00       $172.79

          5/22/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              5/1/2015 Corp Adv - S409 - Appraisal Fees                     $0.00            $0.00          $0.00                    $0.00      $440.00       $440.00

          4/30/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $108.88         $38.26                   $25.00        $0.00       $172.14

          4/24/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          3/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $108.29         $38.18                   $25.00        $0.00       $171.47

          3/24/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              3/5/2015 Corp Adv - S305 - Hazard Insurance                   $0.00            $0.00          $0.00                    $0.00    $2,190.74     $2,190.74

          2/28/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $108.16         $38.11                   $25.00        $0.00       $171.27

          2/24/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          1/31/2015 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.82         $38.04                   $25.00        $0.00       $169.86

          1/27/2015 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              1/5/2015 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         12/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.47         $37.97                   $25.00        $0.00       $169.44

          12/5/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         11/30/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.43         $37.90                   $25.00        $0.00       $169.33

          11/4/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

         10/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.30         $37.83                   $25.00        $0.00       $169.13

          10/3/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          9/30/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.18         $37.76                   $25.00        $0.00       $168.94

              9/9/2014 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          8/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.68         $37.69                   $25.00        $0.00       $168.37

              8/8/2014 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

          7/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.41         $37.62                   $25.00        $0.00       $168.03

          7/16/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00       $20.00        $20.00

              7/7/2014 Corp Adv - S305 - Hazard Insurance                   $0.00            $0.00          $0.00                    $0.00    ($603.50)     ($603.50)
                       Repay
              7/7/2014 Corp Adv - S305 - Taxes Repay                        $0.00            $0.00          $0.00                    $0.00   ($1,107.96)   ($1,107.96)

          6/30/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.29         $37.55                   $25.00        $0.00       $167.84

          6/26/2014 Corp Adv - S305 - Hazard Insurance                      $0.00            $0.00          $0.00                    $0.00    $2,116.43     $2,116.43

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                                                                                     User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                    Case 4:18-cv-00156-MW-CAS Document 1 Filed 03/21/18 Page 53 of 56
                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


          6/10/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          5/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.09         $37.48                   $25.00     $0.00      $167.57

          5/14/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

              5/9/2014 Corp Adv - S305 - Taxes                              $0.00            $0.00          $0.00                    $0.00   $513.53      $513.53

          4/30/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.20         $37.41                   $25.00     $0.00      $167.61

          4/14/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          3/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.37         $37.34                   $25.00     $0.00      $167.71

          3/17/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          2/28/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.77         $37.27                   $25.00     $0.00      $168.04

          2/20/2014 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

              2/3/2014 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          1/31/2014 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.50         $37.20                   $25.00     $0.00      $167.70

         12/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.38         $37.13                   $25.00     $0.00      $167.51

         12/30/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

         11/30/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $105.99         $37.06                   $25.00     $0.00      $168.05

         11/26/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

         10/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.09         $36.99                   $25.00     $0.00      $168.08

         10/22/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          9/30/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.04         $36.92                   $25.00     $0.00      $167.96

          9/20/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

              9/3/2013 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          8/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.50         $36.85                   $25.00     $0.00      $168.35

          7/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.15         $36.78                   $25.00     $0.00      $167.93

          7/19/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          7/10/2013 Corp Adv - S305 - Taxes                                 $0.00            $0.00          $0.00                    $0.00   $594.43      $594.43

          6/30/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $106.31         $36.71                   $25.00     $0.00      $168.02

          6/13/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          5/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.43         $37.98                   $25.00     $0.00      $173.41

          5/31/2013 Part Repay - Prop Chrg Pre D&P                          $0.00            $0.00     ($3,428.46)                   $0.00     $0.00   ($3,428.46)

          5/15/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          4/30/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.41         $37.99                   $25.00     $0.00      $173.40

          4/17/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

              4/1/2013 Corp Adv - Prop Preserve - Prop Inspect              $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          3/31/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.28         $37.92                   $25.00     $0.00      $173.20

          3/19/2013 Corp Adv - Prop Preserve - Prop Inspect                 $0.00            $0.00          $0.00                    $0.00    $20.00       $20.00

          2/28/2013 Monthly Int, MIP/PMI Accrual & SF                       $0.00          $110.52         $37.85                   $25.00     $0.00      $173.37


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                                                                                      User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                    Case 4:18-cv-00156-MW-CAS Document 1 Filed 03/21/18 Page 54 of 56
                       Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


          2/20/2013 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          1/31/2013 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.24         $37.78                   $25.00      $0.00     $173.02

          1/18/2013 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          1/18/2013 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          1/17/2013 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          1/17/2013 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

         12/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.25         $37.71                   $25.00      $0.00     $172.96

         11/30/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.19         $37.63                   $25.00      $0.00     $172.82

         10/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $111.56         $37.56                   $25.00      $0.00     $174.12

         10/11/2012 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

         10/11/2012 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          10/9/2012 Corp Adv - Prop Preserve - Prop Inspect                  $0.00            $0.00          $0.00                    $0.00     $20.00      $20.00

          9/30/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $112.17         $37.49                   $25.00      $0.00     $174.66

          9/17/2012 Corp Adv - S306 - Attorney Fees                          $0.00            $0.00          $0.00                    $0.00    $875.00     $875.00

          8/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $111.95         $37.42                   $25.00      $0.00     $174.37

          7/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.60         $37.13                   $25.00      $0.00     $172.73

          7/24/2012 Disb - Prop Chrg Pre D&P - Taxes                       $649.29            $0.00          $0.00                    $0.00      $0.00     $649.29

          6/30/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.19         $37.00                   $25.00      $0.00     $172.19

              6/8/2012 Disb - Prop Chrg Pre D&P - Inspection                $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

          5/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.10         $36.92                   $25.00      $0.00     $172.02

              5/4/2012 Disb - Prop Chrg Pre D&P - Inspection                $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

          4/30/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.04         $36.83                   $25.00      $0.00     $171.87

          4/24/2012 Disb - Prop Chrg Pre D&P - Inspection                   $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

          4/20/2012 Disb - Prop Chrg Pre D&P - Appraisal                    $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

              4/4/2012 Corp Adv - S306 - Attorney Fees                       $0.00            $0.00          $0.00                    $0.00   $1,650.00   $1,650.00

          3/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $111.70         $36.74                   $25.00      $0.00     $173.44

          3/23/2012 Disb - Prop Chrg Pre D&P - Inspection                   $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

          3/16/2012 Disb - Prop Chrg Pre D&P - Inspection                   $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

          2/29/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $113.22         $36.66                   $25.00      $0.00     $174.88

          1/31/2012 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $110.43         $36.59                   $25.00      $0.00     $172.02

          1/26/2012 Corp Adv - S306 - Attorney Fees                          $0.00            $0.00          $0.00                    $0.00    $823.00     $823.00

              1/9/2012 Disb - Prop Chrg Pre D&P - Inspection                $20.00            $0.00          $0.00                    $0.00      $0.00      $20.00

         12/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $109.00         $36.43                   $25.00      $0.00     $170.43

         12/15/2011 Disb - Prop Chrg Pre D&P - Appraisal                   $425.00            $0.00          $0.00                    $0.00      $0.00     $425.00

         11/30/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $106.58         $35.86                   $25.00      $0.00     $167.44

         11/21/2011 Disb - Prop Chrg Pre D&P - Taxes                      $1,370.56           $0.00          $0.00                    $0.00      $0.00    $1,370.56


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                                                                                      User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                   Case 4:18-cv-00156-MW-CAS Document 1 Filed 03/21/18 Page 55 of 56
                      Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                         Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                Investor Name: Fannie Mae
 Loan Number: 3000017077                                                  FHA Case Number: 091-4328446


         10/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $104.81         $35.63                   $25.00   $0.00    $165.44

          9/30/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $102.48         $35.56                   $25.00   $0.00    $163.04

          8/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $101.94         $35.49                   $25.00   $0.00    $162.43

              8/3/2011 Part Repay - Prop Chrg Pre D&P                        $0.00            $0.00       ($240.00)                   $0.00   $0.00   ($240.00)

          7/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $102.37         $35.52                   $25.00   $0.00    $162.89

          6/30/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $103.52         $35.45                   $25.00   $0.00    $163.97

          5/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $106.01         $35.38                   $25.00   $0.00    $166.39

          4/30/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $103.95         $34.40                   $25.00   $0.00    $163.35

          4/22/2011 Disb - Prop Chrg Pre D&P - Hazard Ins                 $2,989.94           $0.00          $0.00                    $0.00   $0.00   $2,989.94

          3/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $102.69         $34.00                   $25.00   $0.00    $161.69

          2/28/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $102.55         $33.94                   $25.00   $0.00    $161.49

          1/31/2011 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $99.97         $33.19                   $25.00   $0.00    $158.16

          1/21/2011 Disb - Prop Chrg Pre D&P - Hazard Ins                 $2,426.57           $0.00          $0.00                    $0.00   $0.00   $2,426.57

         12/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $98.64         $32.79                   $25.00   $0.00    $156.43

         11/30/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $98.58         $32.73                   $25.00   $0.00    $156.31

         10/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $98.58         $32.66                   $25.00   $0.00    $156.24

          9/30/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $101.38         $32.60                   $25.00   $0.00    $158.98

          8/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $103.90         $32.53                   $25.00   $0.00    $161.43

          7/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $103.95         $32.46                   $25.00   $0.00    $161.41

          6/30/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $98.10         $32.40                   $25.00   $0.00    $155.50

          5/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $96.81         $32.33                   $25.00   $0.00    $154.14

          4/30/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.45         $32.27                   $25.00   $0.00    $152.72

          3/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.40         $32.21                   $25.00   $0.00    $152.61

          2/28/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.21         $32.14                   $25.00   $0.00    $152.35

          1/31/2010 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.28         $32.08                   $25.00   $0.00    $152.36

         12/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.66         $32.02                   $25.00   $0.00    $152.68

         11/30/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $95.60         $31.95                   $25.00   $0.00    $152.55

         10/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $96.24         $31.89                   $25.00   $0.00    $153.13

          9/30/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $97.70         $31.82                   $25.00   $0.00    $154.52

          9/30/2009 Auto-Adjust Int Mip SF                                   $0.00           $24.90          $0.08                    $0.00   $0.00     $24.98

          8/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $96.50         $30.93                   $25.00   $0.00    $152.43

          8/18/2009 Disb - Convert PC Haz Ins to LOC                       $192.35            $0.00          $0.00                    $0.00   $0.00    $192.35

          8/18/2009 Disb - Prop Chrg Pre D&P - Hazard Ins                 $3,236.11           $0.00          $0.00                    $0.00   $0.00   $3,236.11

          7/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $94.77         $30.26                   $25.00   $0.00    $150.03

          6/30/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $101.75         $30.19                   $25.00   $0.00    $156.94

          5/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $106.53         $30.13                   $25.00   $0.00    $161.66


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                                                                                       User: BasithKhan.Ahmed Run Time: 1/25/2018 8:59:49 AM
                      Reverse Mortgage Solutions, Inc.
                                   Case 4:18-cv-00156-MW-CAS Document 1 Filed 03/21/18 Page 56 of 56
                      Loan Balance History                  Loan Skey: 15939 Good Through Date: 1/25/2018 12:00:00 AM


Report Description: Displays all the transactions for the selected loan


 Loan Skey: 15939                                                          Propery Address: 219 BROAD AVENUE, GRETNA, FL, 32332
 Borrowers Last Name: BUSH                                                 Investor Name: Fannie Mae
 Loan Number: 3000017077                                                   FHA Case Number: 091-4328446


            4/30/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $104.97         $30.06                   $25.00        $0.00      $160.03

            3/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00          $99.05         $30.00                   $25.00        $0.00      $154.05

            2/28/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $101.64         $29.93                   $25.00        $0.00      $156.57

            1/31/2009 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $187.92         $29.83                   $25.00        $0.00      $242.75

           12/31/2008 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $243.58         $29.70                   $25.00        $0.00      $298.28

           11/30/2008 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $262.61         $29.57                   $25.00        $0.00      $317.18

           10/31/2008 Monthly Int, MIP/PMI Accrual & SF                        $0.00         $261.44         $29.44                   $25.00        $0.00      $315.88

            9/30/2008 Loan Setup - Advances (Principal)                   $68,433.79           $0.00          $0.00                    $0.00        $0.00    $68,433.79

            9/30/2008 Loan Setup - Init Fee (MIP/PMI)                          $0.00           $0.00       $2,200.00                   $0.00        $0.00     $2,200.00

            9/30/2008 Monthly Int, MIP/PMI Accrual & SF                        $0.00           $0.00          $0.00                   $25.00        $0.00       $25.00

 Totals:                                                                  $79,863.61      $13,512.89       $2,562.84               $2,800.00   $38,688.25   $137,427.59




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